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UNITED STATES
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335 E 14TH ST
NEW YORK, NY 10009-9997
(800)275-8777

12/12/2024 10:17 AM

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Product Qty Unit —— Price
Price

Priority Mail@ 1 $10.45

Flat Rate Env
Hampton, VA 23661
Flat Rate
Expected Delivery Date
Sat 12/14/2024

Tracking #:
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Insurance $0.00
Up to $100.00 included
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Flat Rate Env
Washington, DC 20001
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Debit Card Remit $41.80
Card Name: VISA
Account #: XXXXXXXXXXXN5064
Approval #: 041610
Transaction #: 134
Receipt #: 079723
Debit Card Purchase: $41.80
AID: AgoO0000S80840 Chip
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